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8                         IN THE UNITED STATES DISTRICT COURT FOR THE
9                                 EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA, )                 01:05-CR-0341 AWI
                                   )
12                     Plaintiff,  )             APPLICATION AND ORDER FOR
                                   )             MONEY JUDGMENT AGAINST
13         v.                      )             JAMES HOLLAND
                                   )
14   JAMES HOLLAND,                )
                                   )
15                     Defendant.  )
     ______________________________)
16
17          On December 4, 2006, defendant James Holland entered a guilty plea to Count One of the
18   Indictment which charges him with conspiring to manufacture, distribute, and possess with intent to
19   distribute 100 or more marijuana plants in violation of 21 U.S.C. §§ 846 and 841(a)(1).
20          As part of his plea agreement with the United States, defendant Holland agreed to forfeit
21   voluntarily and immediately $50,000.00 in a forfeiture money judgment pursuant to Fed. R. Crim. P.
22   32.2(b). See Defendant Holland’s Plea Agreement ¶ 2(c). Plaintiff hereby applies for entry of a
23   money judgment as follows:
24          1. Pursuant to 21 U.S.C. § 853 and Fed. R. Crim. P. 32.2(b)(1), the Court shall impose a
25   personal forfeiture money judgment against defendant James Holland in the amount of $50,000.00.
26          2. That the above-referenced personal forfeiture money judgment is imposed based on
27   defendant James Holland’s conviction for violating 21 U.S.C. §§ 846 and 841(a)(1)(Count One).
28   Any funds applied towards such judgment shall be forfeited to the United States of America and

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1    disposed of as provided for by law.
2           3. The personal money judgment shall be paid in full by the time of sentencing. Payment
3    should be made in the form of a cashier’s check made payable to the U.S. Marshals Service and sent
4    to the U.S. Attorney’s Office, Att: Asset Forfeiture Unit, 2500 Tulare Street, Suite 4401, Fresno, CA
5    93721. Prior to the imposition of sentence, any funds delivered to the United States to satisfy the
6    personal money judgment shall be seized and held by the United States Marshals Service, in its secure
7    custody and control.
8    DATED: 1/29/07                                           McGREGOR W. SCOTT
                                                              United States Attorney
9
10                                                  By:       /s/ Kathleen A. Servatius
                                                              KATHLEEN A. SERVATIUS
11                                                            Assistant U.S. Attorney
12
13                                                 ORDER
14          For good cause shown, the Court hereby imposes a personal forfeiture money judgment
15   against defendant James Holland in the amount of $50,000.00. Any funds applied towards such
16   judgment shall be forfeited to the United States of America and disposed of as provided for by law.
17   Prior to the imposition of sentence, any funds delivered to the United States to satisfy the personal
18   money judgment shall be seized and held by the United States Marshals Service, in its secure custody
19   and control.
20
21   IT IS SO ORDERED.
22   Dated:     January 30, 2007                        /s/ Anthony W. Ishii
     0m8i78                                       UNITED STATES DISTRICT JUDGE
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